Case 4:13-cv-00300-JED-tlw Document 2 Filed in USDC ND/OK on 05/22/13 Page 1 of 4




                         UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

 (1)    KATHERINE MORLEY LIEBERMAN )
        as individual,                    )
                                          )
        Plaintiff,                        )
                                          )
 v.                                       )            Case Number: 4:13-cv-00300-JED-TLW
                                          )            (formerly Tulsa County District
 (2)    NATIONAL CASUALTY COMPANY )                    Court Case No. CJ-2013-01980)
        a Foreign For Profit Corporation, )
                                          )
        Defendant.                        )

       DEFENDANT NATIONAL CASUALTY COMPANY’S NOTICE OF REMOVAL

        Defendant, National Casualty Company (hereinafter “Defendant” or “NCC”), hereby submits

 its Notice of Removal of this action to the United States District Court for the Northern District of

 Oklahoma. Pursuant to LCvR 81.2, a copy of the state court docket sheet, as well as all documents

 filed or served in the state court action, are attached hereto as EXHIBIT 1 (Docket Sheet), EXHIBIT

 2 (Plaintiff’s Petition), EXHIBIT 3 (Summons), EXHIBIT 4 (Entry of Appearance of R. Thompson

 Cooper), and EXHIBIT 5 (Answer). No other motions, pleadings or papers have been received by

 Defendant or filed in the state court case.

        The basis of this removal is that the amount in controversy exceeds the jurisdictional amount

 required by 28 U.S.C. § 1332, and that diversity exists between Plaintiff and Defendant. In further

 support of this Notice, Defendant submits the following:

        1.      According to Plaintiff’s Petition, Plaintiff is a resident of Tulsa County, State of

 Oklahoma. (See ¶ 1 of Plaintiff’s Petition, attached hereto as EXHIBIT 2.)

        2.      Defendant is a foreign corporation domiciled in the State of Wisconsin, with its

 principal place of business in Arizona. Defendant has never been incorporated in Oklahoma, and
Case 4:13-cv-00300-JED-tlw Document 2 Filed in USDC ND/OK on 05/22/13 Page 2 of 4




 has never had its principal place of business in Oklahoma. (See 2012 Oklahoma Insurance

 Department List of Licensed Insurance Companies, p. 71, EXHIBIT 6.)

         3.      This lawsuit arises out of claims for insurance proceeds relating to a personal injury

 claim submitted by Plaintiff to Defendant. The subject accident allegedly took place at the Tulsa

 Zoo, which is located in Tulsa County, Oklahoma (i.e., within the Northern District of Oklahoma).

         4.      According to Plaintiff’s Petition, Plaintiff seeks in excess of $75,000 in actual

 damages, plus interest, punitive damages in excess of $75,000, reasonable attorney fees, and other

 relief as deemed appropriate by the court. (See Prayer for Relief, p. 5 of Plaintiff’s Petition, attached

 hereto as EXHIBIT 2.)

         5.      The Oklahoma Insurance Department received Plaintiff’s summons and Petition on

 April 22, 2013. (See Oklahoma Insurance Department date-stamp on Summons, EXHIBIT 3.) The

 Oklahoma Insurance Department mailed the Summons and Petition to Defendant on April 23, 2013.

 Accordingly, this removal is timely filed pursuant to 28 U.S.C. 1446(b). (See correspondence from

 the Insurance Commissioner to NCC, EXHIBIT 7.)

         6.      In summary, this controversy is between parties who are residents of different states

 with alleged damages in excess of $75,000. Therefore, removal jurisdiction exists pursuant to 28

 U.S.C. § 1441(a) on the basis that federal court has diversity jurisdiction under 28 U.S.C. § 1332.

 At the time of this removal, there are no motions pending in the Tulsa County district court.

         7.      Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

 will be served on counsel for Plaintiff, and a copy of this Notice of Removal will be filed with the

 Clerk of the District Court in and for Tulsa County, State of Oklahoma.

         8.      Removal to this District Court is proper under 28 U.S.C. § 116(a).


                                                    2
Case 4:13-cv-00300-JED-tlw Document 2 Filed in USDC ND/OK on 05/22/13 Page 3 of 4




        WHEREFORE, Defendant, National Casualty Company, removes this action from the

 District Court in and for Tulsa County, State of Oklahoma, to the United States District Court for

 the Northern District of Oklahoma.

                                                     Respectfully submitted,


                                                      S/ R. Thompson Cooper
                                                     R. Thompson Cooper, OBA No. 15746
                                                     Molly E. Raynor, OBA No. 30223
                                                     PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
                                                     119 North Robinson Avenue, 11th Floor
                                                     Oklahoma City, Oklahoma 73102
                                                     Telephone:   (405) 606-3333
                                                     Facsimile:   (405) 606-3334
                                                     E-mail:      tom@pclaw.org
                                                                  molly@pclaw.org
                                                     ATTORNEYS FOR DEFENDANT




                                                 3
Case 4:13-cv-00300-JED-tlw Document 2 Filed in USDC ND/OK on 05/22/13 Page 4 of 4




                                 CERTIFICATE OF SERVICE

        This certifies that on May 22, 2013, the above and foregoing instrument was delivered to the
 following counsel of record:

        Donald E. Smolen                              VIA U.S. MAIL
        Jack Beesley
        701 South Cincinnati Avenue
        Tulsa, Oklahoma74119


                                                       S/ R. Thompson Cooper
                                                      For the Firm




                                                 4
